
(2008)
In re: VIOXX MARKETING, SALES PRACTICES AND PRODUCTS LIABILITY LITIGATION
Erie County, New York
v.
Merck &amp; Co., Inc., D. New Jersey, C.A. No. 1:07-5517.
MDL No. 1657.
United States Judicial Panel on Multidistrict Litigation.
April 3, 2008.

TRANSFER ORDER
D. LOWELL JENSEN, Acting Chairman.
Before the entire Panel:[*] Plaintiff in this New Jersey action moves pursuant to Rule 7.4, R.P.J.P.M.L., 199 F.R.D. 425, 435-36 (2001), asking the Panel to vacate its order conditionally transferring the action to the Eastern District of Louisiana for inclusion in MDL No. 1657. Defendant Merck &amp; Co., Inc., opposes the motion.
After considering all counsel's argument, we find that this action involves common questions of fact with actions in this litigation previously transferred to the Eastern District of Louisiana, and that transfer of the action to the Eastern District of Louisiana for inclusion in MDL No. 1657 will serve the convenience of the parties and witnesses and promote the just and efficient conduct of this litigation. We further find that transfer of this action is appropriate for reasons that we set out in our original order directing centralization in this docket. In that order, we held that the Eastern District of Louisiana was a proper Section 1407 forum for actions involving claims relating to Vioxx. See In re Vioxx Products Liability Litigation, 360 F.Supp.2d 1352 (J.P.M.L.2005).
The parties can present the pending motion for remand to state court to the transferee judge. See, e.g., In re Ivy, 901 F.2d 7 (2d Cir.1990); In re Prudential Insurance Company of America Sales Practices Litigation, 170 F.Supp.2d 1346, 1347-48 (J.P.M.L.2001).
IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, this action is transferred to the Eastern District of Louisiana and, with the consent of that court, assigned to the Honorable Eldon E. Fallon for inclusion in the coordinated or consolidated pretrial proceedings occurring there in this docket.
NOTES
[*]  Judges Heyburn, Motz and Scirica took no part in the disposition of this matter.

